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           UNITED STATES COURT OF INTERNATIONAL TRADE

________________________________________________
Ideavillage Products Corp.,                      :
                                                 :
                      Plaintiff,                 :
                                                 :
                      v.                         :                 Court No. 22-00332
                                                 :
United States,                                   :
                                                 :
                      Defendant.                 :
________________________________________________:

                                  NOTICE OF DISMISSAL

       PLEASE TAKE NOTICE, that plaintiff, Ideavillage Products Corp., through its
undersigned attorneys and pursuant to USCIT R. 41(a)(1)(A)(i), hereby dismisses this action.

                                             Respectfully submitted,

                                             GRUNFELD, DESIDERIO, LEBOWITZ
                                             SILVERMAN & KLESTADT LLP
                                             Attorneys for Plaintiff
                                             599 Lexington Avenue, FL 36
Dated: December 19, 2024                     New York, New York 10022
       New York, New York                    Tel. (212) 557-4000, jspraragen@gdlsk.com

                                     By:     /s/ Joseph M. Spraragen
                                             Joseph M. Spraragen

ORDER OF DISMISSAL

Court No. 22-00332, having been voluntarily noticed for dismissal by plaintiff, is dismissed.

                                             Clerk, United States Court of International Trade

Dated:                                       By: _______________________




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